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                                                  U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278

                                                       January 17, 2025

BY ECF
The Honorable Dale E. Ho
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Eric Adams, 24 Cr. 556 (DEH)

Dear Judge Ho:

        The Government writes to respectfully request a two-week adjournment of today’s
deadline for the Government’s anticipated motion pursuant to Section 4 of the Classified
Information Procedures Act (“CIPA”). Despite the Government’s best efforts to meet the deadline
set by the Court, the Government learned today that a relevant component of the U.S. Government
requires additional time to complete its review processes for the materials at issue and to prepare
and submit necessary declarations associated with the Section 4 motion. See United States v. Aref,
533 F.3d 72, 80 (2d Cir. 2008) (requiring that the “state secrets” privilege be asserted “by the head
of the department which has control over the matter, after actual personal consideration by that
officer” (internal quotation marks omitted)). The Government has been informed that the relevant
component anticipates being able to complete the process by Friday January 31, 2025. Although
the requested adjournment may affect certain CIPA-related dates in the current scheduling order
(e.g. Dkt. 87 at 2 (setting CIPA Section 4 hearing for the week of January 27, 2025)), the
Government believes that despite the adjournment it will be feasible to complete CIPA litigation
before the April 21, 2025 trial date in this case, and that deadlines unrelated to CIPA practice need
not be changed based on this request.

                                                Respectfully Submitted,

                                                Edward Y. Kim
                                                Acting United States Attorney

                                          by:              /s/
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cc:    Counsel of Record (by ECF)
